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                                    DISTRICT JUDGE'S CIVIL MINUTES
                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA – PHOENIX
 U.S. District Judge: Michael T. Liburdi                            Date: December 14, 2021
 Case Number CV-21-01568 -PHX-MTL
 Brnovich, et al. v Biden, et al

 APPEARANCES: Plaintiff(s) Counsel                                 Defendant(s) Counsel
              James Rogers                                         (Appearing Telephonically:)
              Brunn Roysden                                        Joseph DeMott
                                                                   Kevin Wynosky
                       (Appearing Telephonically:)                 Elissa Fudim
                       Drew Ensign                                 Eric Fraser
                       Davis Bauer
                       Cassidy Bacon

 STATUS CONFERENCE:

3:02 p.m. Court in session. Discussion is held regarding the status of the case and the scope of
Plaintiffs’ Second Amended Complaint (Doc. 70). IT IS ORDERED that by December 17, 2021, the
parties will file a stipulation clarifying which claims are being asserted against the City of Phoenix and
by which plaintiffs.

Discussion is held regarding the Motion to Proceed Pseudonymously (Doc. 16). Brief oral argument is
heard. The motion is taken under advisement. Written order to issue.

Discussion is held regarding the Motion to Bifurcate Claims and Consolidate Trial on the Merits (Doc.
73). IT IS ORDERED that the parties shall confer and file a stipulation recommending that the Court
issue an order bifurcating claims and consolidating adjudication of Plaintiffs’ Motion for Preliminary
Injunction (Doc. 72) with a trial on the merits. The stipulation is due by December 17, 2021. IT IS
FURTHER ORDERED that the parties shall also submit a stipulation, by December 17, 2021,
regarding the briefing schedule and overlength page request with respect to Counts IX-XIII of the
Second Amended Complaint.

Discussion is held regarding Defendants’ Motion to Stay (Doc. 117). Oral argument is heard. IT IS
ORDERED that the motion is DENIED for reasons stated on the record.

The parties informed the Court that they do not object to the Court deciding Plaintiffs’ Motion for
Preliminary Injunction (Doc. 72) on the briefs without a hearing.
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04:10 p.m. Court adjourned.

Deputy Clerk: Amber Ocamb                                             1 hour 8 minutes
Court Reporter: Barbara Stockford                                     Start: 03:02 PM
                                                                      Stop: 04:10 PM
